78 F.3d 579
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael SIMPSON, Petitioner-Appellant,v.Charles J. CEPAK, Warden;  Attorney General of the State ofSouth Carolina, Respondents-Appellees.
    No. 95-7630.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 18, 1996.Decided March 7, 1996.
    
      Michael Simpson, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before HAMILTON and LUTTIG, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's orders denying relief on his 28 U.S.C. § 2254 (1988) petition, and his Fed.R.Civ.P. 59(e) motion.   We have reviewed the record and the district court's opinions and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Simpson v. Cepak, No. CA-94-1776-3-22BC (D.S.C. Aug. 14, 1995;  Sept. 13, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    